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                   323 FIFTH STREET                                                                                      (800) 603-0836
                   EUREKA CA 95501                                                                Para Español, Ext. 2660, 2643 o 2772
                                                                                                      8:00 a.m. - 5:00 p.m. Pacific Time
                                                                                                              Main Office NMLS #5985
                                                                                                            Branch Office NMLS #9785




              DENNIS HALFPENNY
              PO BOX 289
              AMBOY IL 61310



Analysis Date: October 20, 2021                                                                                                           Final
Property Address: 401 SOUTH GROVE AVENUE APT 1A OAK PARK, IL 60302                                                        Loan:
                                     Annual Escrow Account Disclosure Statement
                                                  Account History

      This is a statement of actual activity in your escrow account from July 2020 to Nov 2021. Last year's anticipated activity
      (payments to and from your escrow account) is next to the actual activity.

Payment Information               Current:      Effective Dec 01, 2021:            Escrow Balance Calculation
 Principal & Interest Pmt:              576.88                  576.88             Due Date:                                     Oct 01, 2021
 Escrow Payment:                        499.12                  567.25             Escrow Balance:                                      0.00
 Other Funds Payment:                      0.00                    0.00            Anticipated Pmts to Escrow:                        998.24
 Assistance Payment (-):                   0.00                    0.00            Anticipated Pmts from Escrow (-):                    0.00
 Reserve Acct Payment:                     0.00                    0.00            Anticipated Escrow Balance:                       $998.24
  Total Payment:                       $1,076.00                $1,144.13


                     Payments to Escrow        Payments From Escrow                                  Escrow Balance
       Date          Anticipated   Actual      Anticipated     Actual         Description            Required       Actual
                                                                          Starting Balance            1,880.62     (1,427.57)
      Jul 2020          483.24                      61.17       58.50 *   Forced Place Insur          2,302.69     (1,486.07)
      Jul 2020                      403.00                            *   Escrow Only Payment         2,302.69     (1,083.07)
      Jul 2020                                               2,458.68 *   County Tax                  2,302.69     (3,541.75)
      Aug 2020          483.24      576.86       2,302.69             *   County Tax                    483.24     (2,964.89)
      Aug 2020                                      61.17             *   Forced Place Insur            422.07     (2,964.89)
      Sep 2020          483.24      576.86          61.17             *   Forced Place Insur            844.14     (2,388.03)
      Oct 2020          483.24      576.86          61.17             *   Forced Place Insur          1,266.21     (1,811.17)
      Nov 2020          483.24      576.86          61.17             *   Forced Place Insur          1,688.28     (1,234.31)
      Dec 2020          483.24    1,075.98          61.17             *   Forced Place Insur          2,110.35       (158.33)
      Dec 2020                                                 388.70 *   Escrow Disbursement         2,110.35       (547.03)
      Jan 2021          483.24      499.12          61.17             *   Forced Place Insur          2,532.42         (47.91)
      Feb 2021          483.24      499.12          61.17             *   Forced Place Insur          2,954.49        451.21
      Feb 2021                                               2,870.78 *   County Tax                  2,954.49     (2,419.57)
      Mar 2021          483.24      499.12       2,762.20             *   County Tax                    675.53     (1,920.45)
      Mar 2021                                      61.17             *   Forced Place Insur            614.36     (1,920.45)
      Apr 2021          483.24      499.12          61.17             *   Forced Place Insur          1,036.43     (1,421.33)
      May 2021          483.24      499.12          61.17             *   Forced Place Insur          1,458.50       (922.21)
      Jun 2021          483.24      499.12          61.17             *   Forced Place Insur          1,880.57       (423.09)
      Jul 2021                      499.12                            *                               1,880.57          76.03
      Aug 2021                      499.12                            *                               1,880.57        575.15
      Sep 2021                      499.12                            *                               1,880.57      1,074.27

                                                                                                                                 Page 1
Sep 2021Case      16-34776           Doc       Filed 11/01/217.00 Entered   11/01/21 14:14:17
                                                                   * County Tax          1,880.57Desc  Main
                                                                                                     1,067.27
Sep 2021
                                                   Document       Page   4 of
                                                         3,391.58 * County Tax
                                                                              7          1,880.57   (2,324.31)
Oct 2021                            2.00                                  * Tax Refund Report        1,880.57             (2,322.31)
Oct 2021                        2,322.31                                  *                          1,880.57                  0.00
                                                                            Anticipated Transactions 1,880.57                  0.00
Oct 2021                      499.12                                                                                         499.12
Nov 2021                      499.12                                                                                         998.24
                $5,798.88 $11,601.05          $5,798.93 $9,175.24

An asterisk (*) indicates a difference from a previous estimate either in the date or the amount. If you want a further explanation, please call
our toll-free number.


Last year, we anticipated that payments from your account would be made during this period equaling 5,798.93. Under
Federal law, your lowest monthly balance should not have exceeded 966.49 or 1/6 of the anticipated payment from the
account, unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are
silent on this issue.




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               Case 16-34776              Doc       Filed 11/01/21           Entered 11/01/21 14:14:17                  Desc Main
Analysis Date: October 20, 2021                                                                                                                   Final
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Borrower: DENNIS HALFPENNY                                                                                                          Loan:
                                                Annual Escrow Account Disclosure Statement
                                                       Projections for Coming Year

      This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and
      from your account.

        Date              Anticipated Payments                                                                  Escrow Balance
                          To Escrow From Escrow               Description                                 Anticipated      Required
                                                              Starting Balance                               998.24        2,087.48
      Dec 2021              521.86                                                                         1,520.10        2,609.34
      Jan 2022              521.86                                                                         2,041.96        3,131.20
      Feb 2022              521.86                                                                         2,563.82        3,653.06
      Mar 2022              521.86        2,870.78            County Tax                                     214.90        1,304.14
      Apr 2022              521.86                                                                           736.76        1,826.00
      May 2022              521.86                                                                         1,258.62        2,347.86
      Jun 2022              521.86                                                                         1,780.48        2,869.72
      Jul 2022              521.86                                                                         2,302.34        3,391.58
      Aug 2022              521.86        3,391.58            County Tax                                    (567.38)         521.86
      Sep 2022              521.86                                                                           (45.52)       1,043.72
      Oct 2022              521.86                                                                           476.34        1,565.58
      Nov 2022              521.86                                                                           998.20        2,087.44
                         $6,262.32       $6,262.36

     (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)
      Your escrow balance contains a cushion of 521.86. A cushion is an additional amount of funds held in your escrow
      balance to prevent the balance from becoming overdrawn when an increase in the disbursement amount occurs. Under
      Federal law, your lowest monthly balance should not exceed 1,043.73 or 1/6 of the anticipated payment from the account,
      unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are silent on
      this issue.

      Your ending balance from the last month of the account history (escrow balance anticipated) is 998.24. Your starting
      balance (escrow balance required) according to this analysis should be $2,087.48. This means you have a shortage of 1,089.24.
      This shortage may be collected from you over a period of 12 months or more unless the shortage is less than 1 month's
      deposit, in which case we have the additional option of requesting payment within 30 days. We have decided to collect it over 24
      months.

      We anticipate the total of your coming year bills to be 6,262.36. We divide that amount by the number of payments expected during
      the coming year to obtain your escrow payment.




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Analysis Date: October 20, 2021                                                                                                        Final
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Borrower: DENNIS HALFPENNY                                                                                               Loan:

                                                                   Paying the shortage: If your shortage is paid in full, your new
      New Escrow Payment Calculation
                                                                   monthly payment will be $1,098.74 (calculated by subtracting the
      Unadjusted Escrow Payment                      521.86
                                                                   Shortage Amount to the left and rounding, if applicable). Paying the
      Surplus Amount:                                  0.00
                                                                   shortage does not guarantee that your payment will remain the same, as
      Shortage Amount:                                45.39
                                                                   your tax or insurance bills may have changed. If you would like to pay
      Rounding Adjustment Amount:                      0.00
                                                                   the shortage now, please pay the entire amount of the shortage before
      Escrow Payment:                               $567.25
                                                                   the effective date of your new payment. To ensure that the funds are
                                                                   posted to your account correctly, please notify your asset manager that
                                                                   you are paying the shortage.

     NOTICE OF RIGHT TO CANCEL PRIVATE MORTGAGE INSURANCE: If you currently pay private mortgage insurance
     premiums, you may have the right to cancel the insurance. In most cases, you have the right to cancel private mortgage insurance if
     the principal balance of your loan is 80 percent or less of the current fair market appraised value of your home, and you have a good
     payment history on your loan. If you want to learn whether you are eligible to cancel this insurance, please contact us at 323 Fifth
     Street, Eureka, Ca 95501 or 800-603-0836.

 * Please note if you have autopay/EFT set up on your loan, it is your responsibility to make sure your payment amount is
 updated. Enclosed is the EFT form that needs to be completed. Once completed, please fax to the number listed on the EFT form
 or return in the self-addressed envelope.




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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 In Re:                                           Case No. 16-34776

 Sharon E. Halfpenny                              Chapter 13

 Debtor.                                          Hon. Judge Deborah L. Thorne

                                 CERTIFICATE OF SERVICE

The undersigned, an attorney, hereby certifies that I have served a copy of this Notice of Mortgage
Payment Change upon the above-named parties by electronic filing or, as noted below, by
placing same in a properly addressed and sealed envelope, postage prepaid, and depositing it in the
United States Mail at 394 Wards Corner Rd., Suite 180, Loveland, OH 45140 on November
1, 2021, before the hour of 5:00 p.m.

          Mohammed Badwan, Debtor’s Counsel
          mbadwan@sulaimanlaw.com

          Marilyn O. Marshall, Trustee
          courtdocs@chi13.com

          Patrick S Layng, U.S. Trustee
          ustpregion11.es.ecf@usdoj.gov

          Sharon E. Halfpenny, Debtor
          P.O. Box 289
          Amboy, IL 61310

 Dated: November 1, 2021                          Respectfully Submitted,

                                                  /s/ Jon J. Lieberman
                                                  Jon J. Lieberman (OH 0058394)
                                                  Sottile & Barile, Attorneys at Law
                                                  394 Wards Corner Road, Suite 180
                                                  Loveland, OH 45140
                                                  Phone: 513.444.4100
                                                  Email: bankruptcy@sottileandbarile.com
                                                  Attorney for Creditor
